  Case 1:20-cr-20165-CMA Document 1 Entered on FLSD Docket 03/20/2020 Page 1 of 6

AO 91(Rev.08/09) Crimi
                     nalComplaint

                                 U NITED STATES D ISTRICT C OURT                                           JAO
                                                       forthe
                                            Southern DistrictofFlorida                               Mar 19, 2020

               United StatesofAm erica                   )                                                   Miami

                            V.                           )
                                                         )     CaseNo.20-mj-02451-Louis
                                                         )
                                                         )
                  Matthew JamesChoy,                     )
                        Defendantts)

                                             CRIM INAL COM PLAINT

         1,thecom plainantin thiscase,state thatthefollowing istruetothebestofmy knowledge and belief.
Onoraboutthedatets)of               3/3/2020-3/16/2020        inthecountyof              Miami-Dade         inthe
   Southern    Districtof               Florida       ,thedefendantts)violated:
           CodeSection                                           OffenseDescription
18U.S.C.j875(c)                          InterstateTransmissionofaThreattolnjure.




      Thiscrim inalcom plaintisbased on these facts:
SEE ATTACHED AFFIDAVIT.




         W Continuedontheattachedsheet.




Attestedtoby theapplicantin accordancewith Fed.R.                         SpecialAnentSeth Parker,FBI
                                                                                  Printednameand title
Crim .Pro.4.lby FaceTime
Swornto beforeme and signed in my presence.


D ate:         03/18/2020


City and state:                     Miami,Florida                   Honorable LaurenF.Louis,U.S.MagistrateJudge
                                                                                  Printednameand title
Case 1:20-cr-20165-CMA Document 1 Entered on FLSD Docket 03/20/2020 Page 2 of 6



                                             AFFIDA VIT

         1,Seth Parker,being duly sw orn,hereby depose and state as follow s:

                                           BA CK G R O UN D

                   l am an investigative or law enforcem ent officer of the United States within the

  meaningofSection251047)ofTitle18oftheUnitedStatesCode.
                   lam a SpecialAgentwith the FederalBureau ofInvestigation C(FBl''),and have
  been so em ployed since February 10,2013.Priorto em ploym entw ith the FBI,1w as an Infantry

  O fficer in the U.S.Arm y. W hile em ployed w ith the FBI,I have prim arily conducted national

  security investigations,which haveincluded investigationsinvolving thetransm issionsofinterstate

  threats.lhavealso participated in num erouscrim inalinvestigations.

                   This A ffidavit is subm itted in support of a crim inal com plaint, charging

  M ATTHEW JAMES CHOY (referred to herein as CûM ATTHEW CHOY''),date of birth
  September4,1986,with transmission ofinterstate threatsto injurethe person ofanother,in
  violationof18U.S.C.j875(c).
         4.        The facts and circum stancescontained herein are based on m y personalknow ledge

  as w ell as inform ation received from other law enforcem ent officers and non-law enforcem ent

  sources.Thisaffidavitisprovided forthe lim ited pum ose ofestablishing probable causein support

  of the crim inalcom plaint and therefore does not contain allthe facts known to m e about this

  investigation.

                                        PR O BA BLE CA USE

                   On February 20,2020,a witnesscalled the FBINationalThreatO perationsCenter

  (tGNTOC'')to reportM ATTHEW CHOY forcommunicationswhich discussed raciallymotivated
  violence.
Case 1:20-cr-20165-CMA Document 1 Entered on FLSD Docket 03/20/2020 Page 3 of 6



                During the course ofthe investigation,the FBlidentified atleasttwo victim s who

  have received threatsfrom M ATTH EW CH OY .Both victim sreported thatthey w ere friendsw ith

  M ATTH EW CH O Y around 2010;however,the two victim s had a falling outw ith M ATTH EW

  CH O Y .Both victim s reported that,subsequently,they received threats and harassing m essages

  from M A TTH EW CH O Y continuing to thepresentday.

                80th victim sreported the m atterto the police and soughtrestraining ordersagainst

  M ATTH EW CH O Y .

                Betw een M arch 3,2020,and M arch 16,2020,M A TTH EW CH O Y transm itted the

  follow ing m essagesthrough a Facebook m essengeraccount,using the internet,to the two victim s.

  The recipients of the m essages were located outside of the State of Florida and M A TTH EW

  CH O Y resided,atthe tim e,in Florida:

         M arch 16.2020 (V ictim l):

         whateverim probably being investigated..idontcare..whateverhappens happens..but
         again..idratherbutifim goingtojailsomeoneisgettingkilled..im notgoingtojailfor
         anything lessthan m urder..its betterthan be know n asa m urdererthan leta m onkey ora
         kike speak to m e..you can value allthe trash you want..suck and fuck allthatworthless
         m idgetm onkey dick..butw hen push comesto shove,thisisa stand yourground state and
         iIlstand overanyone killthem ..idontfuck w ith kikes

         ilearned m y lesson
         ifinishmyclasstomorrow,sonow thatiknow,mightaswellgograbajob inwest
         palm ...ifim going to go down im ightaswelldie fighting

         butjustreadingthesituation..ifallthisishappeningnow,youmusthavemovedbackto
         florida..
         idontwantyou,butireally w antstand overand fightstill
         theresno pointto having m oney ifyou cantberate and bitch people up
         itsfun
         whatare they going to do aboutit

         iknow im dead to rights,im notgoing to beata kike in a paperw ar,m y only play is fight

         im ay notwantyou..butitbothersm e W A Y to m uch to leta kikeorniggerspeak dow n to
         meandim notfightthem...plusbocaandwestpalm arefullofsalves(thatsalljewsand
         niggersare)theyneeda masterand iwantto bitch some slavesup
Case 1:20-cr-20165-CMA Document 1 Entered on FLSD Docket 03/20/2020 Page 4 of 6



        (btw you havestupid friends,and itwouldntgettoldto meyoudontunderstand,and i
        dontthink itwasyou,you dontcare enough,ithink itw asniggergreg he would be dum b
        enough to rely on som eone else because hestoo w orthless and stupid to fightm e him self

        butiwantto fight,lreally wantto killniggergreg buthestoo w orthless to fightm e,he
        had to run aw ay to M em phis you really pick w orthlesspeople..butim sick oflooking like
        a foolbecause you donthave standards and iw antclosure..so im going to com e up there
        andfight...ifigotojail,icanlivewiththat,butim notgoingtolivelikethiswithout
        niggerorjew knowingthereplace
        iwantcloserbutyoufuckandvalueniggersandjews..youdegradedyourselftotoomany
        worthlesslowlivesformeeverrespectyou..(ihavnteventhrown apunch yetand look
        whatican do)
        Iwantto killgreg
        his sisterneedsto be raped..you dontaccuse m e ofsom ething and getforgivenessplus
        hessoworthlessathisjobhesnoteveninabigcityandthatswherethehospitalsare
        so ifthey dontvalue him w hy should l
        plusiwanttostandoverajew andyourmonkeypeople
        illpay the bailfora fight
        itsworth itto m e
        butone week,ihave to build tw o reactappsand finish thisM IT class

        iw illneverunderhow anyone values niggergreg..m y brother isan idiot..you allknow
        gregsdad runsan ENTIRE A G D EPARTM EN T atUF and STILL he couldntgetGreg or
        his brotherinto U F..think abou that..hisbrotherisa doctorthatcouldnteven use
        NEPOTISM to getahead..iw asa drunk and coke addictand iw entto UM and M IT..

        thatshow low iview niggergreg

        butplease tellniggergreg isaid allofthis..iwantto fighthim and killhim ..m aybe ifi
        bitch him up he w illstand up to m e
        he doesnthave brendan thistim e to stop m e from killing him
        w ithoutbrndan hesnothing ihad thatniggercrying in a corneronce illdo itagain
        telllauren isaid hiasw ell..iw antthatbitch to know how worthlessthatniggeris
        thisistoo perfectoftim ing
        iwantto killgreg
        itsm utualcom bat..iaccept

        butthink aboutthis...niggergreg and hisbrotherkevin sam e genes..they w entto UCF
        and N ova...thathow nepotism worked forthem ..iknow intelligence comesfrom the
        m otherand all,butfuck thatniggerfrom bad stock..iw ouldntgo to a doctorthatcouldnt
        even getinto a good schoolthatm y fatherran

        thatm eans lazy orstupid
        greg is lazy and stupid
        thatswhy hes in mem phis
        he can fightm e anythim e
        anytim e
Case 1:20-cr-20165-CMA Document 1 Entered on FLSD Docket 03/20/2020 Page 5 of 6




        now ifyou w antto suck offm onkeysand kikes..as long asthose niggers know there
        placeand know they w illbe killed ifthey even SPEA K to m e...thatsfine..idontw ant
        you..butgreg needsto be killed..thatsw hatiwant..lw antto killniggergreg
        iw antto see the niggerscream
        if icantkillgreg wellibitch up hisfriendsand Iauren untilgetniggergreg to fight
        and thats m orethan ok w ith m e
        whatsthe pointofm oney ifican'tkillm y enem ies
        give niggergreg and knife and m e a bottle..w e willsee loserdies
        if ihave to go to sarasota and rape hissiterand take thebitch apartw ith a chainsaw so be
        it..butiw illkillgreg
        butgreg needsto be killed
        haha
        igetit...one w eek...block m y ass..butiw antto fight...ireally wantto killsom eone..but
        iknow igetone shotatthat...thatneedsto be greg unlessigeta lucky selfdefence kill

        M arch6.2020(Victim 2):
        ok niggerw hosfam ily do 1have to m urderto m ove on? Yoursraysevans pick
        someone...anyniggerspicorjew...1wantoutofthisandiflhavetoslaughterafamilyso
        be it..illbe in tam pa nextw eekend,ifIhave to m ake a pitstop to rape and killyour sister
        sobeit,butIwantoutofthissituationitsnotmyfaultthatbitchfucksniggersandjews,l
        w antout,and illlearned m y lesson,illkillsom eone before IIeta kike even say hito m e
        again

        M arch 4.2020 (V ictim 2):
        N IGGER !!!lv been clearnigger,do Ihaveto have to go to sarasota and rape and killyour
        sisterto m ake this end? Because Iw illniggerdo Ihave to go to boca and slaughterray and
        hiskike w ife nigger'?? Iw antoutIw antto be leftalone don'tm ake m e startkilling
        fam ilies becausethat's next..ifthatbitch wantsniggerbabiesthat'son her,butlwantout
        Im done m essaging you nigger!!lnexttim e im raping yourkike sisterand taking the bitch
        apartw ith a chain...iw antoutofthisD O IM AK E M Y SELF CLEAR N IG GER II!

        M arch 3.2020 (V ictim 2):

        smglshouldhavequitmyjobyearsago..tothinkwhatstheworstthecanhappentome
        w ith niggertrash like you,lcan dum p drinkson people on anyone lwantand m ake
        anyone m y bitch,W OR ST CA SE lend up in a tsghtand killsom eone...and it'sa stand
        yourground state
        lcantw aitto getinto fight
        Iwantto fight
        W hatcan you and yourfriendsdo aboutit?
        W ithoutBrendan you cantdefend againstm e
        lcanjustpaythebail
        lcantw aitto fightand killyou
Case 1:20-cr-20165-CMA Document 1 Entered on FLSD Docket 03/20/2020 Page 6 of 6



                 On M arch 1l,2020,C ity of Hom estead police officers knocked on the door of

  M ATTH EW     CH OY 'S residence under the guise of conducting a child w elfare check.

  M ATTH EW C H O Y opened the door,identified him self,and told the officershe had lived atthe

  rtsidence forten years.In the M arch 16ththreatabove, CH OY m akesreferenceto thisvisitby the

  policeofficersCkifyouthinkyoucouldaskhomesteadforhelp'').

                                          CO N CLU SIO N

         10.    Based on the foregoing facts, I subm it there is probable cause to believe

  M ATTHEW CHOY transmitted interstatethreatsto injurethepersonofanother,inviolationof
  18U.S.C.j875(c).



  Attested to by the applicantin accordance w ith   Seth Parker,SpecialA gent
  Fed.R .Crim .Pro.4.1by FaceTim e                  FederalBureau oflnvestigation

  Subscribed and sworn to before m e
  on this 18 day ofM arch 2020.



  HONO RABLE LAUREN F.LOU IS
  UNITED STATES M A GISTM TE JUDG E
  SOU THERN D ISTRICT OF FLORIDA
